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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                           Case No. 15-cr-20597

v.                                                         Honorable Thomas L. Ludington

D-1 DANIEL JASON HARRINGTON,

                      Defendant.

_______________________________________/

        ORDER GRANTING MOTION TO WITHDRAW COUNSEL, STRIKING
         MOTIONS AND REFERRING MATTER TO MAGISTRATE JUDGE
                    FOR APPOINTMENT OF COUNSEL

       On September 23, 2015, Defendant Daniel Jason Harrington was indicted with three

counts of distribution of methamphetamine and one count of criminal forfeiture. ECF No. 1. On

December 9, 2015, a superseding indictment was issued charging Defendant with ten counts

related to distribution of methamphetamine and one count of criminal forfeiture. ECF No. 22. On

July 12, 2016, Defendant filed a motion for appointment of new counsel. ECF No. 22. Defendant

argued that his counsel refused to raise pertinent arguments, investigate discovery, or properly

communicate with Defendant. On August 3, 2016, Defendant filed three handwritten motions

without his attorney’s assistance. ECF Nos. 88–90.

       On September 1, 2016, the Court held a motion hearing in open court, with counsel for

the Government and Defendant in attendance. After hearing from Defendant, counsel for

Defendant, and the Government, the Court stated that it would grant Defendant’s motion for

appointment of new counsel.
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       “It is well settled that there is no constitutional right to hybrid representation.” United

States v. Lowdermilk, 425 F. App'x 500, 504 (6th Cir. 2011) (quoting United States v. Cromer,

389 F.3d 662, 681 n. 12 (6th Cir.2004)) (internal quotation marks omitted). Generally, litigants

must choose between proceeding pro se and proceeding with counsel. United States v. Mosely,

810 F.2d 93, 97 (6th Cir. 1987) (quoting United States v. Conder, 423 F.2d 904, 908 (6th Cir.

1970). The choice of one means of representation precludes reliance on the other. Id. Permitting

deviation from this rule “is a matter committed to the sound discretion of the trial court.” Id.

Defendant has chosen to request new counsel instead of representing himself. Accordingly, he is

precluded from proceeding pro se. Defendant’s motions filed pro se will be stricken without

prejudice, and Defendant is advised to discuss the merits of those motions with his new attorney.

       For the reasons stated on the record it is ORDERED that Defendant’s Motion for

Appointment of New Counsel, ECF No. 82, is GRANTED.

       It is further ORDERED that Attorney Karfonta’s appearance on behalf of Defendant

Harrington is TERMINATED.

       It is further ORDERED that this matter is REFERRED to Magistrate Judge Patricia T.

Morris for the purpose of appointing Defendant Harrington new counsel pursuant to the Criminal

Justice Act.

       It is further ORDERED that Defendant Daniel Harrington’s pending motions, ECF Nos.

88, 89, 90, are STRICKEN.



Dated: September 6, 2016                                    s/Thomas L. Ludington
                                                            THOMAS L. LUDINGTON
                                                            United States District Judge




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                                          PROOF OF SERVICE

                  The undersigned certifies that a copy of the foregoing order was served
                  upon each attorney or party of record herein by electronic means or first
                                  class U.S. mail on September 6, 2016.

                                                   s/Michael A. Sian
                                                   MICHAEL A. SIAN, Case Manager




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